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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


Graduation Solutions,                             :      CIVIL ACTION NO.:
                                                  :      3:17CV01342(VLB)
       Plaintiff,                                 :
                                                  :
v.                                                :
                                                  :
Acadima, LLC and                                  :
Alexander Loukaides,                              :
                                                  :
       Defendant.                                 :      JUNE 11, 2018

                                       APPEARANCE

       PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of

defendant Alexander Loukaides whose current counsel is discontinuing his practice.


Dated: June 11, 2018


                                    By:

                                                  __/s/Jeffrey S. Bagnell___________
                                                  Jeffrey S. Bagnell
                                                  Federal Bar No. CT18983
                                                  Jeffrey S. Bagnell, Esq., LLC
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                                         CERTIFICATION

         This is to certify that on this 11th day of June 2018 a copy of the foregoing was filed
electronically [and served by mail on anyone unable to accept electronic filing]. Notice of this
filing will be sent by e-mail to all parties, as listed below, by operation of the Court’s electronic
filing system [or by mail to anyone unable to accept electronic filing]. Parties may access this
filing through the Court’s system.



                                                      __/s/Jeffrey S. Bagnell____________




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